                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA



STATE OF ALASKA,

                   Plaintiff,
            v.

BRYAN NEWLAND, in his official
capacity as Assistant Secretary, Indian          Case No. 3:23-cv-00007-SLG
Affairs, U.S. Department of the Interior,
et al.,

                   Defendants,

            and

CENTRAL COUNCIL OF TLINGIT &
HAIDA INDIAN TRIBES OF ALASKA,

                   Intervenor-Defendants.


                                       ORDER

      It has come to the Court’s attention from court staff that the recent filing by the

Central Council of Tlingit & Haida Indian Tribes of Alaska at Docket 36 was initially

made under the name of C. Cotton, an associate attorney at the firm representing

Tlingit & Haida in this matter and a person within the third degree of relationship to

the undersigned judge. See 28 U.S.C. § 455(b)(5)(ii). The name of the filer has since

been changed to an attorney of record in this case. Circuit court case law indicates

that a relative’s salaried employment at a law firm representing a party does not

necessitate nor warrant the judge’s disqualification from that case, so long as the

associate attorney is not acting as a lawyer in the proceeding and has no involvement


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in the case. See generally C. Geyh, Judicial Disqualification: An Analysis of Federal

Law 68-69 (3d. ed. 2020). Accordingly, the Court requests that counsel of record for

Tlingit & Haida promptly file a notice in this case informing the Court and the other

parties whether C. Cotton has, or has had, any involvement in this case.

      DATED this 8th day of March 2024, at Anchorage, Alaska.


                                                /s/ Sharon L. Gleason
                                                UNITED STATES DISTRICT JUDGE




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